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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

David J. Hoffenkamp
                                      Plaintiff,
v.                                                      Case No.: 1:21−cv−04523
                                                        Honorable Martha M. Pacold
Koplan Welsh and Associates
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 28, 2021:


        MINUTE entry before the Honorable Martha M. Pacold: Any objections to
Plaintiff's motion for entry of default [11] must be filed by 11/10/2021. If no objections
are filed, the court will consider the motion unopposed. Plaintiff shall serve defendant
with this notice and file proof of service with the Court.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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